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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLORADO

Criminal Case No. 12-cr-00140-LTB

UNITED STATES OF AMERICA

                  Plaintiff,

v.

1.    MICHAEL DESTRY WILLIAMS,
      a/k/a “Will Williams,”

                  Defendant.


                                  INDICTMENT
                               26 U.S.C. §7201
                               18 U.S.C. §2


      The Grand Jury charges that:

                           GENERAL ALLEGATIONS

      At all times material to this indictment:

      1.    The defendant, MICHAEL DESTRY WILLIAMS, was a resident

of Pueblo and Pueblo County, Colorado.

      2.    Defendant WILLIAMS was self-employed as a general

contractor focusing primarily on residential construction

projects, including roofing, remodeling and the repair and

restoration of residential structures sustaining fire and water

related damage.

      3.    Defendant WILLIAMS was also self-employed as a real

estate investor involved in the purchase, renovation and resale



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(commonly known, as “fixing and flipping”) of residential

properties.

      4.    Greenview Construction, Inc. (hereinafter, “Greenview”)

was a Colorado corporation through which defendant WILLIAMS

primarily conducted his general contractor construction business.

Defendant WILLIAMS was the beneficial owner of 100% of the shares

of Greenview, was its sole or principal officer, and was

responsible for overseeing and controlled all facets of the

operation of Greenview.

      5.    M.D. Williams, Inc. (hereinafter, “MDW, Inc.”) and M.D.

Williams Enterprises, Inc. (hereinafter, “MDWE”), its successor,

were Colorado corporations through which defendant WILLIAMS

primarily conducted his real estate investment business.

Defendant WILLIAMS was the beneficial owner of 100% of the shares

of MDW, Inc. and MDWE, was their principal officer, and was

responsible for overseeing and controlled all facets of their

operations.

      6.    Colorado Housing & Investment Program, L.L.C.

(hereinafter, “CHIP”) was a Colorado limited liability company

that primarily consisted of a small group of individual investors

who pooled their funds and extended short term construction

financing and bridge loans for residential real estate

construction projects.      CHIP’s primary source of income was the

interest that it charged on these loans.         CHIP made distributions


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of the interest that it was paid on these loans and the other

profits that it realized from its operations quarterly to its

members on a pro rata basis in accordance with its members’

principal investment in CHIP.       CHIP reported the payments that it

made to its members, including members’ individual shares of its

income, both to its members and the Internal Revenue Service

(hereinafter, “IRS”)on an annual basis in IRS Schedules K-1 that

were prepared and issued together and in connection with CHIP’s

annual federal income tax returns.

      7.    Defendant WILLIAMS was a member of CHIP, investing in

the limited liability company in an individual capacity.

                                  COUNT 1

      8.    The allegations set forth in paragraphs 1 through 7 of

this indictment are hereby re-alleged as if set out in full and

incorporated herein by reference.

      9.    From at least on or about April 1, 2005 and continuing

until at least on or about January 11, 2008, the exact dates

being unknown to the Grand Jury, in the State and District of

Colorado, the defendant,

                        MICHAEL DESTRY WILLIAMS,
                         a/k/a “Will Williams,”

did willfully attempt to evade and defeat the assessment of a

substantial amount of income tax and self-employment tax due and

owing by him to the United States of America for calendar year

2005, by failing to make an income tax return on or before April

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17, 2006, as required by law, to any proper officer of the IRS,

by failing to pay to the IRS said income tax and self-employment

tax, and by engaging in and causing the following acts:

      A.    Over the course of April 2005 through July 2005,
            issuing checks to himself from Greenview’s bank account
            totaling $4,500, which checks he then caused to be
            recorded in Greenview’s accounting books and records as
            payments by Greenview for consulting fees;

      B.    Over the course of July 2005 through November 2005,
            causing CHIP to issue checks for its quarterly
            distributions to him through checks made payable to
            MDW, Inc., which checks he then deposited into a bank
            account for MDW, Inc. and MDWE;

      C.    Following his receipt of CHIP’s Schedule K-1 for him
            for 2005, reporting the foregoing and other payments to
            him from CHIP over the course of 2005, contending that
            his investment in CHIP was through his corporations,
            MDW, Inc. and MDWE, and not individually, and sending a
            letter dated April 10, 2006 to CHIP’s accountant
            indicating that the use of his social security account
            number in the Schedule K-1 as the taxpayer
            identification number (hereinafter, “TIN”) for the
            investment was fraudulent and incorrect and that the
            TIN for MDWE was the correct TIN to be used for tax
            reporting purposes for his investment in CHIP;

      D.    On or about November 28, 2005, in connection with his
            sale of a real estate parcel located at 333 W. Hidalgo
            Drive, Pueblo, Colorado, a property that he held
            individually, executing an IRS Form W-9 falsely
            representing that the seller of the 333 W. Hidalgo
            Drive property was MDW, Inc. and identifying MDWE’s TIN
            as the TIN for the seller, thereby causing the title
            company conducting the closing of the sale of this
            property to report the proceeds that he received on the
            sale to the IRS under MDWE’s TIN;

      E.    In or about late November or early December 2007,
            representing to an accountant whom he had engaged to
            prepare corporate federal income tax returns for
            Greenview and MDWE (hereinafter, the “corporate return
            tax preparer”) that both corporations were not owned
            directly by him but rather through a purported trust,

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            which he identified as “Millstone,” which owned all the
            shares of both corporations;

      F.    In connection with the foregoing representation,
            applying to the IRS for a TIN for Millstone and
            representing in the application that the trustee of
            Millstone was an individual identified herein as
            “R.M.McK,” a sub-contractor who worked for defendant
            WILLIAMS in his construction business;

      G.    Providing the corporate return tax preparer with a
            letter from the IRS, dated December 5, 2007, issuing a
            TIN to Millstone, through its purported trustee,
            R.M.McK;

      H.    On or about December 7, 2007, signing and then causing
            to be filed with the IRS a corporate income tax return
            for Greenview, on IRS Form 1120, for the year 2005,
            which return:

            1.    Represented that Millstone Trust owned 100% of the
                  shares of Greenview; and

            2.    Represented that Greenview had paid no wages or
                  salaries, no officer compensation and no dividends
                  to defendant WILLIAMS and which incorporated
                  payments that he had, in fact, received from
                  Greenview for 2005 into a broader category of
                  consulting fees and other costs of goods sold by
                  the corporation for the year.

      I.    On or about January 11, 2008, signing and then causing
            to be filed with the IRS a corporate income tax return
            for MDWE, on IRS Form 1120, for the year 2005, which
            return:

            1.    Represented that Millstone owned 100% of the
                  shares of MDWE; and

            2.    Represented that MDWE had paid no wages or
                  salaries, no officer compensation and no dividends
                  to defendant WILLIAMS and which incorporated
                  payments that he had, in fact, received from MDWE
                  for 2005 into a broader category of purchases that
                  MDWE had made for the year, a component of its
                  costs of goods sold.



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      In violation of Title 26, United States Code, Section 7201

and Title 18, United States Code, Section 2.

                                  COUNT 2

      10.   The allegations set forth in paragraphs 1 through 7 of

this indictment are hereby re-alleged as if set out in full and

incorporated herein by reference.

      11.   From at least on or about November 9, 2005 and

continuing until at least on or about January 11, 2008, the exact

dates being unknown to the Grand Jury, in the State and District

of Colorado, the defendant,

                        MICHAEL DESTRY WILLIAMS,
                         a/k/a “Will Williams,”

did willfully attempt to evade and defeat the assessment of a

substantial amount of income tax and self-employment tax due and

owing by him to the United States of America for calendar year

2006, by failing to make an income tax return on or before April

17, 2007, as required by law, to any proper officer of the IRS,

by failing to pay to the IRS said income tax and self-employment

tax, and by engaging in and causing the following acts:

      A.    On or about November 9, 2005, executing, and causing an
            employee, an individual identified herein as “DRCW”,
            and an associate to execute, various documents
            purporting to create a trust in the name of “Skyview,”
            which documents, among other things, described DRCW as
            the “settlor” of the trust and defendant WILLIAMS as a
            manager of the trust;

      B.    On or about April 13, 2006, in his purported capacity
            as trust manager, opening a brokerage account with RBC


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            Dain Rauscher (hereinafter, “RBC”) in the name of
            Skyview, and representing DRCW’s social security
            account number as the account holder’s social security
            account number/employer identification number on the
            account opening documents;


      C.    Over the course of June 2006 through November 2006,
            issuing checks made payable to Skyview from Greenview’s
            bank account totaling $91,000, which checks he then
            caused to be recorded in Greenview’s accounting books
            and records as payments by Greenview for consulting
            fees to Skyview; depositing said checks into Skyview’s
            RBC brokerage account; and using the proceeds of said
            checks for various purposes;

      D.    Over the course of August 2006 through October 2006,
            issuing checks made payable to Skyview from MDWE’s bank
            account totaling $13,000, which checks he then caused
            to be recorded in Greenview’s accounting books and
            records as payments by MDWE for consulting expenses and
            profit payments to an associate; depositing said checks
            into Skyview’s RBC brokerage account; and using the
            proceeds of said checks for various;


      E.    On or about March 30, 2006, in connection with his sale
            of a real estate parcel located at 427 Morrison Avenue,
            Pueblo, Colorado, a property that he held individually,
            executing an IRS Form W-9 falsely representing that the
            seller of the 427 Morrison Avenue property was MDW,
            Inc., thereby causing the title company conducting the
            closing of the sale of this property to report the
            proceeds that he received on the sale to the IRS under
            MDWE’s TIN;

      E.1. In connection with the foregoing sale, directing the
           title company to make the seller’s proceeds check, in
           the amount of approximately $24,233, payable to MDW,
           Inc.; depositing the check into a bank account for
           MDWE; and thereafter recording the deposit as a
           management fee to MDWE in its accounting books and
           records;

      F.    On or about August 22, 2006, in connection with his
            sale of a real estate parcel located at 1806 E. 8th
            Street, Pueblo, Colorado, a property that he held
            individually, executing an IRS Form W-9 falsely

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            representing that the seller of the 1806 E. 8th Street
            property was MDW, Inc. and identifying MDWE’s TIN as
            the TIN for the seller, thereby causing the title
            company conducting the closing of the sale of this
            property to report the proceeds that he received on the
            sale to the IRS under MDWE’s TIN;

      F.1. In connection with the foregoing sale, directing the
           title company to make a seller’s proceeds check, in the
           amount of approximately $7,397, payable to MDW, Inc.;
           depositing the check into a bank account for MDWE; and
           thereafter recording the deposit as investment fee
           income to MDWE in its accounting books and records;

      G.    Engaging in the affirmative acts described and set
            forth in sub-paragraphs 9E through 9E of this
            indictment, which sub-paragraphs are hereby re-alleged
            as if set out in full and incorporated herein by
            reference;

      H.    On or about December 7, 2007, signing and then causing
            to be filed with the IRS a corporate income tax return
            for Greenview, on IRS Form 1120, for the year 2006,
            which return:

            1.    Represented that Millstone Trust owned 100% of the
                  shares of Greenview; and

            2.    Represented that Greenview had paid no wages or
                  salaries, no officer compensation and no dividends
                  to defendant WILLIAMS and which characterized
                  payments that he had, in fact, received (in the
                  name of Skyview) from Greenview for 2005 as
                  consulting expenses and incorporated them into a
                  broader category of other costs of goods sold by
                  the corporation for the year.

      I.    On or about January 11, 2008, signing and then causing
            to be filed with the IRS a corporate income tax return
            for MDWE, on IRS Form 1120, for the year 2006, which
            return:

            1.    Represented that Millstone owned 100% of the
                  shares of MDWE;

            2.    Represented that MDWE had paid no wages or
                  salaries, no officer compensation and no dividends
                  to defendant WILLIAMS and which incorporated

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                  payments that he had, in fact, received from MDWE
                  (through Skyview) for 2006 into a broader category
                  of purchases that MDWE had made for the year or
                  sub-contractor expenses of MDWE, both components
                  of its costs of goods sold; and

            3.    Included payments that defendant WILLIAMS received
                  as proceeds on the sales of the 427 Morrison
                  Avenue and 1806 E. 8th Street properties as gross
                  receipts of MDWE for 2006.

      In violation of Title 26, United States Code, Section 7201

and Title 18, United States Code, Section 2.

                                  COUNT 3

      12.   The allegations set forth in paragraphs 1 through 7 of

this indictment are hereby re-alleged as if set out in full and

incorporated herein by reference.

      13.   From at least on or about January 29, 2007 and

continuing until at least on or about April 15, 2008, the exact

dates being unknown to the Grand Jury, in the State and District

of Colorado, the defendant,

                        MICHAEL DESTRY WILLIAMS,
                         a/k/a “Will Williams,”

did willfully attempt to evade and defeat the assessment of a

substantial amount of income tax and self-employment tax due and

owing by him to the United States of America for calendar year

2007, by failing to make an income tax return on or before April

15, 2008, as required by law, to any proper officer of the IRS,

by failing to pay to the IRS said income tax and self-employment

tax, and by engaging in and causing the following acts:


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      A.    Over the course of January 2007 through August 2007,
            causing at least $7,800 in checks issued to him by CHIP
            to be deposited into Skyview’s brokerage account at
            RBC;

      B.    On or about May 18, 2007, causing a check in the amount
            of approximately $67,000 to be issued by a title
            company and made payable to Skyview, representing the
            repayment of principal and interest of a short term
            loan extended by defendant WILLIAMS (through Skyview),
            and depositing that check into Skyview’s brokerage
            account at RBC.

      In violation of Title 26, United States Code, Section 7201

 and Title 18, United States Code, Section 2.




                        A TRUE BILL



                        Ink signature on file in the Clerk’s Office
                        FOREPERSON



 JOHN F. WALSH
 UNITED STATES ATTORNEY



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